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                                    of Service       Pg 1 of 4


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                 )
                                                 )
 In re:                                          )    Chapter 13
                                                 )
  LUSKY E. ABHIVA,                               )    Case No. 17-23263 (RDD)
                                                 )
                                                 )
                      Debtor.                    )
                                                 )
                                                 )

                                CERTIFICATE OF SERVICE

          1.   I, Gary O. Ravert, am not a party to the above-captioned action, am over 18 years

of age, and reside in Brooklyn, New York.

          2.   On January 14, 2018, by the means indicated below, I served each of the entities

on the attached Service List below in the manner indicated therein with a true and correct copy

of the MOTION OF 3394 3rd Avenue LLC TO DISMISS CHAPTER 13 CASE PURSUANT TO

SECTION 109(e) OF THE BANKRUPTCY CODE [Docket No. 22] served in the above-

captioned case on behalf of 3394 3rd Avenue LLC.

Dated: January 14, 2018                               RAVERT PLLC
       New York, New York
                                                      By: /s/Gary O. Ravert

SERVICE LIST (Via Email and ECF)
Michael A. Koplen on behalf of Debtor Lusky E.
Abhiva (Atty@KoplenLawFirm.com, koplenecfmail@gmail.com;esty@koplenlawfirm.com;r63
002@notify.bestcase.com )

Adam J. Friedman on behalf of Creditor Fay Servicing
LLC (bankruptcy@friedmanvartolo.com )

Richard Mullen on behalf of Creditor Wells Fargo Bank, N.A. as servicing agent for HSBC Bank
USA, National Association, as Trustee for ACE Securities Corp. Home Equity Loan Trust,
Series 2005-HE5, Asset Backed Pass-Through Certificates (rmullen@woodsoviatt.com,
bkinbox@woodsoviatt.com )

Jeffrey L. Sapir-13 (info@sapirch13tr.com )
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                                    of Service    Pg 2 of 4


United States Trustee (USTPRegion02.NYECF@USDOJ.GOV)

VIA US MAIL:

Lusky E. Abhiva
65 Camphill Road
Pomona, NY 10970-3201

Fay Servicing LLC
Friedman Vartolo LLP
85 Broad Street, Suite 501
New York, NY 10003
United States Trustee
Office of the United States Trustee
U.S. Federal Office Building
201 Varick Street, Room 1006
New York, NY 10014-9449
Wells Fargo Bank, N.A. as servicing agent
|c/o Woods Oviatt Gilman LLP
700 Crossroads Building|2 State Street
Rochester, NY 14614-1313
3394 3RD AVENUE,
C/O LAW OFFICE OF SAMUEL KATZ
4533 16TH AVE
BROOKLYN, NY 11204-1102
ANTONELLA CAFARO
C/O HARRY ZUBLI ESQ
1010 NORTHERN BLVD., SUITE 310
GREAT NECK, NY 11021-532
AR RESOURCES INC.
PO BOX 1056
BLUE BELL, PA 19422-0287
CHASE MTG
10790 RANCHO BERNARDO RD
SAN DIEGO, CA 92127-5705
CON EDISON COMPANY
C/O RUI CREDIT SERVICES
P.O BOX 1349
MELVILLE, NY 11747-0421
CONSOLIDATED EDISON COMPANY OF NEW YORK
BANKRUPTCY GROUP
4 IRVING PLACE ROOM 1875-S
NEW YORK, NY 10003-3502
EDWARD PRYOR, ESQ.
                                            -2-
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1925 WILLIAMSBRIDGE ROAD
BRONX, NY 10461-1604
GOOD SAMARITAN HOSPITAL
255 LAFAYETTE AVE
SUFFERN, NY 10901-4869
HENRY KATZ MD
1254 CENTRAL PARK AVE
YONKERS, NY 10704-1059
HOWARD VARGAS
79 MEADOWLAND STREET
DELMAR, NY 12054-2624
HUDSON VALLEY BRAIN & SPINE
222 ROUTE 59, SUITE 205
SUFFERN, NY 10901-5206
IC SYSTEMS, INC.
444 HIGHWAY 96 EAST
PO BOX 64887
SAINT PAUL, MN 55164-0887
LINEBARGER GOGGAN BLAIR ET AL
61 BROADWAY SUITE 2600
NEW YORK, NY 10006-2840
LP GUTWEIN AND RA SABLE MD PC
3765 RIVERDALE AVE, SUITE7
BRONX, NY 10463-1845
MIRAMED REVENUE GROUP LLC,
P.O BOX 536
LINDEN, MI 48451-0536
NEW YORK CITY ENVIRO CONTROL C/O LINEBARGER GOGGAN
61 BROADWAY SUITE 2600
NEW YORK, NY 10006-2840
NOSAKHARE IRENE EBOHON
65 CAMPHILL ROAD
POMONA, NY 10970-3201
NYS THRUWAY
VIOLATIONS PROCESSING CENTER
PO BOX 15186
ALBANY, NY 12212-5186
New York State Thruway Authority
200 Southern Boulevard
Albany, NY 12209-2098
PHYSICAL MEDICINE AND REHAB
500 GRAND AVE SUITE 100
ENGLEWOOD, NJ 07631-4968
                                     -3-
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U.S. ROF IV Legal Title Trust 2015-1
c/o Fay Servicing, LLC
3000 Kellway Dr., Suite 150
Carrollton, TX 75006-3357
VERICREST
PO BOX 24610
OKLAHOMA CITY, OK 73124-0610
WELLS FARGO
PO BOX 14547
DES MOINES, IA 50306-3547
Wells Fargo Bank, N.A. as servicing agent
Default Document Processing
MAC# N9286-01Y
1000 Blue Gentian Road
Eagan, MN 55121-7700
Woods Oviatt Gilman, LLP
Attorneys for Wells Fargo Bank, N.A.
700 Crossroads. Building 2, State Street
Rochester, NY 14614-1327




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